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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                              Chapter 11

             TOWN SPORTS INTERNATIONAL, LLC, et al.,1                            Case No. 20-12168 (CSS)

                                                Debtors.                         (Jointly Administered)



                                   AMENDED SCHEDULE E/F FOR
                         TOWN SPORTS INTERNATIONAL, LLC (CASE NO. 20-12168)




         1
            The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing
         address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
         large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of
         the Debtors, the last four digits of their federal tax identification numbers, and their addresses are not provided herein.
         A complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
         agent at http://dm.epiq11.com/TownSports, or by contacting the proposed undersigned counsel for the Debtors.
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